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                             EXHIBIT 45
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       Exhibit 45 -2 GAO Principles
                             UnitedofStates
                                      Federal Appropriations
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GAO                          Office of the General Counsel




                             PRINCIPLES OF
                             FEDERAL
                             APPROPRIATIONS
                             LAW

                             Chapter 2
                             The Legal Framework

                             Fourth Edition
                             2016 Revision
                             This document, in conjunction with GAO, Principles of Federal Appropriations
                                    th
                             Law, 4 ed., 2016 rev., ch . 1, GAO-16-463SP (Washington, D.C.: Mar. 2016),
                             supersedes chapters 1, 2, and 3 of GAO, Principles of Federal Appropriations
                             Law, 3 rd ed ., GAO-04-261SP (Washington, D.C.: Jan. 2004). Chapters 4 through
                             15 of the third edition of Principles of Federal Appropriations Law, in conjunction
                             with GAO, Principles of Federal Appropriations Law: Annual Update to the Third
                             Edition, GAO-15-303SP (Washington, D.C.: Mar. 2015), remain the most
                             currently ava ilable material on the topics discussed therein. Both Principles and
                             the Annual Update to the Third Edition are available at
                             www.gao.gov/legal/redbook/redbook.html.




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                             Congress may make an appropriation that grants authority to draw money
                             from the Treasury but does not grant budget authority. Such an
                             appropriation is known by a more specific term. For example, a
                             "liquidating appropriation" provides authority to draw money from the
                             Treasury to satisfy obligations incurred pursuant to contract authority
                             (discussed in the next sub-section). A "deficiency appropriation" provides
                             authority to satisfy obligations that exceeded an agency's available
                             budget authority. The word "appropriation" appearing alone nearly
                             always refers to a provision of law that grants both budget authority and
                             authority to make payments from the Treasury.

                             Appropriations are identified on financial documents by means of
                             "account symbols," which are assigned by the T reasury Department,
                             based on the number and types of appropriations an agency receives and
                             other types of funds it may control. An appropriation account symbol is a
                             group of numbers, or a combination of numbers and letters, which
                             identif ies the agency responsible for the account, the period of availability
                             of the appropriation, and the specific fund classification. Detailed
                             information on reading and identifying account symbols is contained in
                             the Treasury Financial Manual (I TFM 2- 1500). Specific accounts for
                             each agency are listed in a publication entitled Federal Account Symbols
                             and Titles, issued quarterly as a supplement to the TFM.




3. Contract Auth ority:      Contract authority is a form of budget authority that perm its agencies to
   Obligations in Advance    incur obligations in advance of appropriations. Glossary at 22. It is to be
   of Appropriations         distinguished from every government agency's inherent authority to use
                             budget authority to enter into contracts necessary to carry out its statutory
                             functions.

                             Contract authority itself is not an appropriation ; it grants authority to enter
                             into binding contracts but not the funds to make payments under them.
                             Congress must provide funds to satisfy the contractual obligations, either
                             by making a subsequent appropriation called a "liquidating appropriation"
                             or by granting authority to use receipts or offsetting collections for this
                             purpose. See PCL Construction Service, Inc. v. United States, 41 Fed.
                             Cl. 242 (1998); National Ass'n of Regional Councils v. Costle, 564 F.2d
                             583, 586 (D.C. Cir. 1977); B-300167, Nov. 15, 2002; B-228732, Feb. 18,
                             1988. Contract authority constitutes budget authority. The subsequent
                             liquidating appropriation does not grant authority to incur obligations and,
                             therefore, is not budget authority. B- 171630, Aug. 14, 1975.




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                              Congress may provide contract authority in appropriation acts (for
                              example, 8-174839, Mar. 20, 1984) or, more commonly, in other types of
                              legislation (for example, 8-228732, Feb. 18, 1988). Either way, the
                              authority must be specific. 31 U.S.C. § 1301{d).

                              Contract authority has a "period of availability'' analogous to that for an
                              appropriation. Unless otherwise specified, if it appears in an
                              appropriation act in connection w ith a particular appropriation, its period
                              of availability w ill be the same as that for the appropriation. If it appears
                              in an appropriation act without reference to a particular appropriation, its
                              period of availability, again unless otherwise specified, will be the fiscal
                              year covered by the appropriation act. 32 Comp. Gen. 29, 31 (1952);
                              8-76061 , May 14, 1948. See Cray Research, Inc. v. United States, 44
                              Fed. Cl. 327,331 n.4 ( 1999); Castle, 564 F.2d at 587-88. This period of
                              availability refers to the time period during which the contracts must be
                              entered into.

                              Since the contracts entered into pursuant to contract authority constitute
                              obligations binding on the United States, Congress has little practical
                              choice but to make the necessary liquidating appropriations. 8-228732,
                              Feb. 18, 1988; 8-226887, Sept. 17, 1987. As the Supreme Court has put
                              it:

                                  "The expectation is that appropriations will be automatically forthcoming to meet
                                  these contractual commitments. This mechanism considerably reduces
                                  whatever discretion Congress might have exercised in the course of making
                                  annual appropriations."

                              Train v. City of New York, 420 U.S. 35, 39 n.2 (1975). A failure or refusal
                              by Congress to make the necessary appropriation wou ld not defeat the
                              obligation, and the party entitled to payment would most likely be able to
                              recover in a lawsuit. E.g., 8-211190, Apr. 5, 1983.


4. Offsetting Collections:    The federal government receives money from numerous sources and in
   Authority to Obligate      numerous contexts. Our interest from an appropriations law perspective
   Funds Collected            is whether funds received by an agency are available for obligation
                              without further congressional action.

                              For our purposes, we discuss two types of collections that may be
                              received by the government: offsetting collections and offsetting receipts.
                              Offsetting collections are collections authorized by law to be credited to
                              appropriation or fund expenditure accounts. Generally, offsetting
                              collections are collections resulting from business-type or market-oriented
                              activities, such as the sale of goods or services to the public, and



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